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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 SURCHI1, LLC,

               Plaintiff,
                                                    No. 23 CV 5227
          v.
                                                    Judge Georgia N. Alexakis
 THE TRAVELERS INDEMNITY COMPANY
 OF CONNECTICUT,


               Defendant.

                            MEMORANDUM OPINION AND ORDER

        This matter arises out of a dispute over insurance coverage. Plaintiff Surchi1,

LLC maintains that defendant, The Travelers Indemnity Company of Connecticut, is

obligated to cover costs associated with remediating water-related damage to

Surchi1’s property. Travelers takes a contrary position based on the language of the

policy and the pleadings in this matter. Because the Court concludes that there is a

material factual dispute at this juncture over the cause of the property damage, it

denies in part, and grants in part, Travelers’ motion for a judgment on the pleadings.

[26].

   I.      Legal Standards

        Judgment on the pleadings is appropriate when there are no disputed issues

of material fact and the moving party is clearly entitled to judgment as a matter of

law. See Unite Here Loc. 1 v. Hyatt Corp., 862 F.3d 588, 595 (7th Cir. 2017). In

resolving a motion for judgment on the pleadings, the court is “confined to the matters

presented in the pleadings, and [it] must consider those pleadings in the light most
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favorable to [the non-moving party].” Id. See also Wagner v. Teva Pharmaceuticals

USA, Inc., 840 F.3d 355, 358 (7th Cir. 2016) (“In assessing a motion for judgment on

the pleadings, [courts] draw all reasonable inferences and facts in favor of the

nonmovant, but need not accept as true any legal assertions.”).

      For purposes of a Rule 12(c) motion, “[t]he pleadings include the complaint, the

answer, and any written instruments attached as exhibits,” such as affidavits, letters,

contracts, and loan documentation. N. Indiana Gun & Outdoor Shows, Inc. v. City of

S. Bend, 163 F.3d 449, 452–53 (7th Cir. 1998); see also United States v. Wood, 925

F.2d 1580, 1582 (7th Cir. 1991); Fed. R. Civ. P. 10(c) (“A copy of a written instrument

that is an exhibit to a pleading is a part of the pleading for all purposes.”).

      “When a [party] moves for judgment on the pleadings, the motion should not

be granted unless it appears beyond doubt that the nonmovant cannot prove facts

sufficient to support its position, and that the [moving party] is entitled to relief.” See

Federated Mut. Ins. Co. v. Coyle Mech. Supply Inc., 983 F.3d 307, 312–13 (7th Cir.

2020) (citing Scottsdale Ins. Co. v. Columbia Ins. Grp., Inc., 972 F.3d 915, 919 (7th

Cir. 2020)). “Thus to succeed, the moving party must demonstrate that there are no

material issues of fact to be resolved.” Id. (citing N. Ind. Gun & Outdoor Shows, 163

F.3d at 452). “District courts should not allow motions for judgment on the pleadings

to deprive the non-moving party of the opportunity to make its case.” Id. (citing

Johnson v. Revenue Mgmt. Corp., 169 F.3d 1057, 1060 (7th Cir. 1999)).




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   II.      Background

         In July 2022, Surchi1’s property in Highland Park, Illinois, experienced water-

related damage. [16] ¶ 9. Surchi1 incurred expenses while repairing the damage, id.

¶¶ 12–13, and submitted a claim for coverage under an insurance policy it had with

Travelers, id. ¶¶ 19–20. Travelers investigated the claim, initially denied Surchi1

coverage and, following a response to this denial from Surchi1, further investigated

the claim through March 2023, without rendering a final decision. Id. ¶¶ 21–27.

         In July 2023, Surchi1 filed a state court action, seeking a declaratory judgment

that its policy with Travelers covered Surchi1 for the water damage and that

Travelers was liable to reimburse Surchi1 for nearly $69,000 in repairs. [1-1]. Surchi1

also alleged that Travelers had violated Section 155 of the Illinois Insurance Code.

Id. Under that provision, “refusing to pay claims without conducting a reasonable

investigation based on all available information” constitutes an improper claims

practice, as does “failing to adopt and implement reasonable standards for the prompt

investigation and settlement of claims arising under its policies.” Id. (citing 215 ILCS

5/154.6(c) and (h)).

         In August 2023, Travelers removed the matter to federal court based on

diversity jurisdiction. [1]. It later answered Surchi1’s amended complaint1 and filed

a counterclaim seeking a declaratory judgment that Surchi1’s claim was not covered




1 Surchi1 filed its amended complaint in September 2023, [16], from which the Court has

otherwise cited in this background section.

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under the policy [17]. Travelers’ motion for a judgment on the pleadings followed.

[26].

   III.    Analysis

        Travelers maintains that it is entitled to a judgment on the pleadings—

namely, a declaration from this Court that it is not obligated to cover Surchi1’s water-

related damage, because (1) under the parties’ relevant contract, Travelers is not

obligated to cover damage caused by surface water, even if surface water contributed

only in part to the damage, and (2) the pleadings irrefutably establish that surface

water contributed, at least in part, to Surchi1’s property damage. Surchi1, of course,

takes a contrary view. It maintains that Travelers is obligated to cover the costs of

Surchi1’s water-related damage (1) because the damage was the result of a water or

sewage backing up or overflowing from sewers, and (2) this obligation remains, even

if surface water contributed in part to the damage.

        To address the parties’ dispute, the Court first analyzes the language of the

relevant contractual provisions before examining whether the pleadings conclusively

establish the cause(s) of Surchi1’s water-related damage.

        A. Relevant Contractual Provisions

        Under Surchi1’s policy with Travelers, Travelers “will not pay for loss or

damage caused directly or indirectly by … surface water.” [16-1] at 35–36. At the

same time, under an endorsement (i.e., change) to Surchi1’s policy, Travelers will

cover “direct physical loss of or damage to Covered Property at the described premises

caused by or resulting from water or sewage that backs up or overflows from a sewer,



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drain, or sump.” [16-1] at 69. This much the parties agree on. The parties dispute,

however, whether Travelers is obligated to cover damages caused concurrently by

surface water (an excluded peril) and by water or sewage that backs up or overflows

from a sewer, drain, or sump (a covered peril).

      According to Travelers, a concurrent combination of these causes precludes

coverage. In support of that position, Travelers points to the following language in

Paragraph B.1 of the “Businessowners Property Coverage Special Form” (i.e.,

Surchi1’s policy)—with the key language appearing in italics:

      B. EXCLUSIONS

      1. We will not pay for loss or damage caused directly or indirectly by
         any of the following. Such loss or damage is excluded regardless of
         any other cause or event that contributes concurrently or in any
         sequence to the loss. These exclusions apply whether or not the loss
         event results in widespread damage or affects a substantial area.

      ***

      g. Water

         (1) Flood, surface water, waves, tides, tidal waves, overflow of any
             body of water, or their spray, all whether driven by wind or not;

         (2) Mudslide or mudflow;

         (3) Water or sewage that backs up or overflows from a sewer, drain
             or sump; or

         (4) Water under the ground surface pressing on, or flowing or seeping
             through:

             (a)   Foundations, walls, floors or paved surfaces;

             (b)   Basements, whether paved or not; or

             (c)   Doors, windows or other openings;

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           All whether naturally occurring or due to man made or other
           artificial causes.

[16-1] at 35–36 (emphases added); [26] at 8. Travelers refers to the first sentence in

the italicized language above as the “anti-concurrent causation clause.” E.g., [26] at

8.

        In response, Surchi1 argues that the anti-concurrent causation clause was

abrogated by the same endorsement to the policy that obligated Travelers to cover

damages resulting from water or sewage that backs up or overflows from a sewer,

drain, or sump. That endorsement reads:

                    SEWER OR DRAIN BACK UP EXTENSION

        This endorsement modifies insurance provided under the following:

        BUSINESSOWNERS PROPERTY COVERAGE SPECIAL FORM

        ***

        The following is added to Paragraph A. 7. Coverage Extensions:

        Water or Sewage Back Up and Sump Overflow.

        (1) When the Declarations show that you have coverage for Building or
            Business Personal Property, you may extend that insurance to apply
            to direct physical loss or damage to Covered Property at the described
            premises caused by or resulting from water or sewage that backs up
            or overflows from a sewer, drain or sump.

        (2) When the Declarations show that you have coverage for Business
            Income and Extra Expense, you may also extend that insurance to
            apply to the actual loss of Business Income you sustain and
            reasonable and necessary Extra Expense you incur caused by or
            resulting from water or sewage that backs up or overflows from a
            sewer, drain, or sump.

        (3) Paragraph B.1.g.(3) does not apply to this Coverage Extension.

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       (4) The most we will pay under this Coverage Extension in any one
           occurrence at each described premises is the Limit of Insurance
           shown in the Schedule above.

[16-1] at 69 (bolded font in original).

       According to Surchi1, the salient points of the endorsement are as follows: (1)

it “modified insurance provided under the … Businessowners Property Coverage

Special Form”—which encompasses the anti-concurrent causation clause; and (2) it

pertains to damage stemming from “Water or Sewage Back Up and Sump Overflow.”

As a result, Surchi1 argues, the endorsement “replaces the language contained in

Surchi1’s standard Travelers policy relating to coverage for ‘water or sewage backup

and sump overflow,’” including any limitation on that coverage that would be the

function of the anti-concurrent causation clause. [37] at 3–4.

       The Court disagrees. The plain language of the endorsement clearly abrogates

only Paragraph B.1.g.(3) of the Businessowners Property Coverage Special Form—

i.e., that portion of the policy that, left unaltered, would preclude coverage of damage

caused by “water or sewage that backs up or overflows from a sewer, drain or sump.”

[16-1] at 36. The endorsement says nothing about abrogating the anti-concurrent

causation clause. Surchi1 characterizes this state of affairs—an express abrogation

of Paragraph B.1.g.(3), coupled with no explicit statement on the ongoing viability of

the anti-concurrent causation clause—as ambiguity that precludes judgment as a

matter of law in Travelers’ favor. See, e.g., [37] at 3, 9–12. For the reasons the Court

sets forth next, it sees no such ambiguity and instead interprets the endorsement as

leaving the anti-concurrent causation clause intact.

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      More specifically, the endorsement states that it “modifies insurance provided

under the … BUSINESSOWNERS PROPERTY COVERAGE SPECIAL FORM.” [16-

1] at 69. For context, the Businessowners Property Coverage Special Form pertains

not just to the relatively contained question involved in this litigation regarding

coverage for water-related damage. Instead, it describes, at great length, the various

forms of property that are covered (or not) under the policy. [16-1] at 14–35. It also

specifies exclusions in coverage, including those exclusions, described in its

Paragraph B.1.g, stemming from water damage. See id. at 35–39.

      The endorsement modifies only a specific portion of the Businessowners

Property Coverage Special Form. As the endorsement plainly states, it adds language

to “Paragraph A.7. Coverage Extensions” of the Businessowners Property Coverage

Special Form. Id. at 69. “Paragraph A.7. Coverage Extensions” outlines additional

coverage that Travelers will (and will not) provide under Surchi1’s policy. Id. at 24–

35. Critically, the endorsement does not modify all coverage extensions referenced in

Paragraph A.7. Instead, the endorsement’s plain language addresses only one precise

topic: “Water or Sewage Back Up and Sump Overflow.” The limited nature of the

endorsement is underscored by its precise reference to one precise sub-paragraph in

the Businessowners Property Coverage Special Form—Paragraph B.1.g.(3), the

provision that, absent the endorsement, would preclude any coverage for water or

sewage that backs up or overflows from a sewer, drain or sump.

      The endorsement says nothing about neighboring provisions in Paragraph

B.1.g., which address other forms of water-damage excluded from coverage: damage



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caused by surface water (id. at 36 (Paragraph B.1.g.(1))); by mudslide or mudflow (id.

(Paragraph B.1.g.(2))); and by water under the ground surface pressing on, or flowing

or seeping through, among other things, foundations and walls (id. (Paragraph

B.1.g.(4))). And, as the Court has already observed, it says nothing about Paragraph

B.1, the prefatory paragraph that contains the anti-concurrent causation clause. The

absence of language in the endorsement regarding these provisions makes sense and

is therefore not a source of ambiguity. After all, by its own terms, the endorsement

only addresses “Water or Sewage Back Up and Sump Overflow.” See Hongbo Han v.

United Continental Holdings, Inc., 762 F.3d 598, 601 (7th Cir. 2014) (silence in a

contract can create ambiguity but “only when the silence involves a matter naturally

within the scope of the contract as written”) (cleaned up). It is the work of rest of the

policy to address other exclusions in coverage, including exclusions relating to water-

based damage, and the interplay among those exclusions.

      In short, given the limited nature of the endorsement, Surchi1 cannot credibly

maintain that the endorsement modifies all aspects of its policy relating to coverage

for water or sewage backup—including the anti-concurrent causation clause. Indeed,

it would be odd to read the endorsement as removing the anti-concurrent causation

clause in cases involving water or sewage back up or overflow—when that reading

would have the effect of expanding coverage for damage caused by surface water, or

mudslides, or water under the ground surface seeping through foundations. Those

sources of damage are not even the subject of the endorsement.




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      Lastly, the Court’s reading of these contractual provisions is consistent with

Park Ridge Presbyterian Church v. American States Insurance Company, No. 11 C

5321, 2014 WL 4637433, at *5 (N.D. Ill. Sept. 17, 2014), where the district court

interpreted similar contractual language to resolve a similar question of coverage. In

Park Ridge Presbyterian, the plaintiff argued “that the Policy’s Rider, which deleted

the exclusion for water backup, had the effect of deleting the anti-concurrent clause.”

Id. As the court in Park Ridge Presbyterian explained, however, “indorsements to an

insurance policy should [be] interpreted based on the policy as a whole.” Id. (quoting

Ryan Cos. US, Inc. v. Secura Ins. Co., No. 10 C 1035, 2011 WL 2940985, at *3 (N.D.

Ill. July 21, 2011)). And “[a]n indorsement is not to be construed more broadly than

the fair import of its terms considered in connection with the whole of the policy.” Id.

(quoting Fid. & Cas. Co. of NY v. Mobay Chem. Corp., 625 N.E.2d 151, 159 (1992)).

      Park Ridge Presbyterian noted that the rider there—like the endorsement

here—deleted Paragraph B.1.g.3 of the policy, but that “[n]othing in the Rider

mention[ed] the preamble to the exclusion section”—just as nothing in the

endorsement here mentions the anti-concurrent causation clause. Id. In the same

vein, Park Ridge Presbyterian continued, “deleting the anti-concurrent clause along

with the water back-up exclusion is nonsensical as it leaves §§ B.1.g.1, g.2, and g.4

without a preamble (not to mention §§ B.1.a-f and h).” Id. Park Ridge Presbyterian

concluded that the rider it analyzed did not eliminate the anti-concurrent causation

clause from the policy. The Court comfortably reaches that same conclusion about the

endorsement here.



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      B. A Material Factual Dispute Exists as to the Cause of Surchi1’s
         Damage.

      In light of the Court’s interpretation of the relevant policy provisions, the

question at this juncture is as follows: Whether the pleadings establish, as a matter

of law, that the damage to Surchi1’s property was caused in whole, or in part, by

surface water. If the answer to that question is yes, then Travelers should prevail

because the pertinent policy does not cover damage caused by surface water, even if

surface water was only a contributing factor. But if the answer to that question is

no—i.e., if the pleadings, read in the light most favorable to Surchi1, permit the

possibility that Surchi1 can prove that its damage was caused solely by “water or

sewage that back[ed] up or overflow[ed] from a sewer, drain, or sump”—then the

Court must deny Travelers’ motion. See Federated Mut. Ins. Co., 983 F.3d at 312–13

(to succeed on a motion for judgment on the pleadings, “the moving party must

demonstrate that there are no material issues of fact to be resolved”).

      Surchi1 undeniably has alleged that a backed-up sewer system alone caused

the damage. Clear as day, its complaint alleges that “[o]n July 23, 2022, at about 8:00

a.m., a significant amount of water and sewage material backed up from the Highland

Park sewer system through a drain located on Surchi1’s property inside the

entranceway of the building located on the premises owned by Surchi1 at 1770 1st

Street, Highland Park, Illinois, and caused extensive damage.” [16] ¶ 9 (emphases

added). Surchi1 further claims that “[t]he damage to [its] property caused by the

back up of sewage and water was widespread, required extensive cleanup, restoration,




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and repairs.” Id. ¶ 10 (emphasis added).2 Surchi1’s complaint makes no reference to

surface water serving as the root cause, or any cause, of its property damages. Thus,

under the version of events advanced in the complaint, which the Court must credit

at this time, Surchi1’s damages are covered under its Travelers policy. See Wagner,

840 F.3d at 358 (“In assessing a motion for judgment on the pleadings, [courts] draw

all reasonable inferences and facts in favor of the nonmovant.”).

       The picture gets more complicated when the Court turns to Travelers’

counterclaim, which is undoubtedly a pleading for purposes of Rule 12(c). See Arch

Ins. Co. v. Stone Mountain Access Sys., Inc., No. 16 C 514, 2016 WL 3671466, at *2–

3 (N.D. Ill. July 11, 2016). There, Travelers quotes an August 23, 2022 email from

Christine Peloza, a representative for Surchi1, to Travelers that describes the cause

of Surchi1 property damage. As it appears in the counterclaim, Peloza’s email reads:

       There was heavy rain which the water should drain into the city’s sewer
       system which is located outside our building in the streets. Because of
       all the heavy rain the water had no where to go and that water backed
       up into our building which seemed to be the front entrance of the unit
       that flooded as well as a portion of the parking garage. The backup didn’t
       come from the parking garage. I misunderstood. There was water
       backed up into the garage but the water came from the backed up sewer
       system in the street.

[17] at 21, ¶ 13.



2 See also id. ¶ 11 (“On July 23, 2022, at about 9:30 a.m., ServiceMaster was called by Surchi1

to Surchi1’s property to inspect the water and sewage back up, sewage and water infiltration,
and the damage caused by the sewage and water.”); id. at ¶ 12 (“On July 23, 2022, July 27,
2022, and several times weeks later, ServiceMaster performed extensive cleanup, restoration
and repair work to the damaged portions of Surchi1’s property caused by the July 23, 2022
sewer back up.”); id. ¶ 16 (referencing the damage caused “by the sewer and water back up on
July 23, 2022”); id. ¶ 19 (referencing “the July 23, 2022 sewer and drain back up occurrence”);
id. ¶ 24 (referencing the “claim of loss arising from the July 23, 2022, sewer back up”); ¶ 25
(same) (emphases added).
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      In support of the allegation, Travelers attached the August 23, 2022

communication it received from Surchi1’s Peloza. [17-2]. Because the portion of the

communication that appears in the pleading was slightly truncated, the Court

repeats the communication in full—adding emphases to those portions of the

communication that do not appear in counterclaim:

      Sorry maybe I am explaining this wrong. There was heavy rain which
      the water should drain into the city’s sewer system which is located
      outside our building in the streets. Because of all the heavy rain the
      water had no where [sic] to go and that water backed up into our
      building which seemed to be the front entrance of the unit that flooded
      as well as a portion of the parking garage. The backup didn’t come from
      the parking garage. I misunderstood. There was water backed up into
      the garage but the water came from the backed up sewer system in the
      street. We are above the parking garage so even if the water came in from
      the parking garage it wouldn’t flood our building. It came from the street
      sewer system.

Id.

      According to Travelers, in this August 23, 2022 communication, Surchi1

conceded that surface water caused its property damage. Travelers focuses on the

following language: “There was heavy rain which the water should drain into the

city’s sewer system which is located outside our building in the streets. Because of all

the heavy rain the water had no where [sic] to go and that water backed up into our

building.” Id.; [26] at 1. Travelers construes this language as establishing that

Surchi1’s property damage was the result, at least in part, of surface water. It writes:

“In other words, when the storm drains became overwhelmed, water that could no

longer enter the drains pooled and flowed into the building,” and “[b]y definition, the

water described by Surchi1 was surface water.” See [26] at 2, 6. See also id. at 4; id.



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at 8 (writing that, as described by Peloza, the water “was simply unable to get into

the overtaxed drain,” making it, definitionally, surface water).3 And because Peloza’s

language—if read in the manner Travelers urges—would contradict Surchi1’s

allegations attributing its property damage solely to a backed-up sewer system,

Travelers argues that Peloza’s email establishes, as a matter of law, that Travelers

is not liable for coverage. Id. at 7 (arguing that where a document contradicts a

pleading, “the document … controls”); see Bogie v. Rosenberg, 705 F.3d 603, 609 (7th

Cir. 2013)) (“When an exhibit incontrovertibly contradicts the allegations in the

complaint, the exhibit ordinarily controls, even when considering a motion to

dismiss.”).

        The Court disagrees with Travelers’ unilateral reading of Peloza’s email. In at

least two instances in her email, Peloza clearly writes that the problematic water

came from the city’s sewer system. She writes: “The water came from the backed up

sewer system in the street” and “[i]t came from the street sewer system.” [17-2]. Even

the language upon which Travelers focuses can be read as pointing the finger at a

backed-up sewer system. When Peloza referenced “water [that] should drain into the

city’s sewer system” and wrote that “[b]ecause of all the heavy rain the water had no

where [sic] to go,” she does not eliminate the possibility that the water at issue was


3 The policy does not define “surface water.” [26] at 5. Travelers relies on the following
definition of the term from an Illinois court: Water “derived from natural precipitation that
flows over or accumulates on the ground without forming a definite body of water or following
a defined watercourse.” Id. (citing Smith v. Union Auto. Indem. Co., 323 Ill. App. 3d 741, 749
(2d Dist. 2001)). This is the same definition that the court in Park Ridge Presbyterian
employed. 2014 WL 4637433, at *6. In addition, per Smith, surface water remains surface
water only until it is diverted into a defined waterway of channel, like a drainage system.
Smith, 323 Ill. App. 3d at 749. Accord Park Ridge Presbyterian, 2014 WL 4637433, at *6.

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diverted into the sewer system for some amount of time before it overflowed from that

location into Surchi1’s property. In that scenario, the water would not be

characterized as surface water. See Smith, 323 Ill. App. 3d at 749 (water that is

diverted into a defined waterway or channel loses its character as surface water);

Park Ridge Presbyterian, 2014 WL 4637433, at *6 (“Generally, when water enters

into a hole, flows into a sewer pipe, and from there enters and damages a building,

the water does not constitute surface water.”) (quoting Herrington, Inc. v. City of

Geneva, 2012 IL App (2d) 120131–U, ¶ 39 (2012)) (cleaned up). Indeed, that

possibility would make more sense given that the rest of Peloza’s email casts blame

on the sewer system.

       To be sure, further discovery might establish that surface water really did

contribute to Surchi1’s property damage and, in that scenario, Travelers would not

be obligated to cover the costs of Surchi1’s damage given the anti-concurrent

causation clause. But Peloza’s email is a very thin reed upon which to grant Travelers

judgment on the pleadings, when that communication can easily be read in a manner

that does not contradict Surchi1’s allegations.4



4 Surchi1 also points to an affidavit submitted by Surchi1 employee, Mark Muller, to support

its allegations, even though that affidavit is not a part of the pleadings. When a party
presents matters outside the pleadings on a Rule 12(c) motion, the motion must be treated
as a motion for summary judgment under Rule 56. Fed. R. Civ. P. 12(d); see also Interlease
Aviation Investors II v. Vanguard Airlines, No. 02 C 4801, 2004 WL 1149397, at *18 (N.D. Ill.
May 19, 2004). Muller’s affidavit does not resolve the parties’ factual dispute. Like Peloza’s
email, his affidavit can be read as establishing that Surchi1’s damage was not caused by
surface water. See, e.g., [37-2] ¶¶ 7, 10, 16. Travelers urges a different reading of Muller’s
affidavit, but its argument is based on the (erroneous) premise that “the parties agree … that
rainwater which flowed towards the drain never enter the drain and, therefore, remained as
surface water.” [38] at 9–10 (emphasis added). But the parties do not agree on that point; as


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       C. Travelers Is Entitled to Judgment in Its Favor on Count II.

       Surchi1 has alleged that Travelers violated Section 155 of the Illinois

Insurance Code by, among other things, failing to conduct a reasonable and prompt

investigation. [1-1].

       Section 155 provides additional relief where an insurer’s acts are deemed

“vexatious and unreasonable.” 215 Ill. Comp. Stat. 5/155(1). “An insurer’s actions are

not vexatious and unreasonable if ‘(1) there is a bona fide dispute concerning the

scope and application of insurance coverage; (2) the insurer asserts a legitimate policy

defense; (3) the claim presents a genuine legal or factual issue regarding coverage; or

(4) the insurer takes a reasonable legal position on an unsettled issue of law.’” TKK

USA, Inc. v. Safety Nat’l Cas. Corp., 727 F.3d 782, 793 (7th Cir. 2013) (quoting

Citizens First Nat’l Bank of Princeton v. Cincinnati Ins. Co., 200 F.3d 1102, 1110 (7th

Cir. 2000)). Here, if the Court’s preceding analysis establishes anything, it establishes

that genuine issues regarding coverage, both legal and factual, exist here. At a

minimum, therefore, there is “a bona fide dispute concerning the scope and

application of insurance coverage.” See TKK USA, 727 F.3d at 793.

       The Court therefore will enter judgment in favor of Travelers on Count II, a

conclusion that is consistent with the approach in Park Ridge Presbyterian Church v.

American States Insurance Company See No. 11 C 5321, 2015 WL 14071502, at *2–3

(N.D. Ill. Jan. 30, 2015) (entering judgment for defendant on plaintiff’s claim for



the Court just explained, Peloza’s email can be read as permitting the possibility that
rainwater entered the sewer system before overflowing onto Surchi1’s property. A genuine
dispute of material fact therefore remains, precluding judgment for Travelers under Rule 56.
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extra-contractual damages under § 155 of the Illinois Insurance Code after granting

a motion for reconsideration).

   IV.      Conclusion

         For the reasons set forth above, the Court denies in part, and grants in part,

Travelers’ motion for a judgment on the pleadings. [26].



                                                ___________________________
                                                Georgia N. Alexakis
                                                United States District Judge
Date: 12/17/24




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